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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT TACOMA

10   JUDITH COX and CHARLES COX                       NO.
     individually and as Personal
11   Representatives of the Estates of C.J.P.         NOTICE OF REMOVAL TO
     and B.T.P.,                                      FEDERAL COURT
12

13                             Plaintiffs,

14                             v.

15   STATE OF WASHINGTON,
     DEPARTMENT OF SOCIAL AND
16   HEALTH SERVICES, FOREST
     JACOBSON, ROCKY STEPHENSON,
17   JANE WILSON, and BILLIE REED-
     LYYSKI,
18

19                             Defendants.

20   TO:    THE CLERK OF THE ABOVE-ENTITLED COURT:

21          PLEASE TAKE NOTICE that defendants hereby remove to this court the state court

22   action described below.

23          1.      Plaintiffs aver that all allegations as contained in their Amended Complaint for

24   Damages arose and occurred in Pierce County, Washington. This lawsuit alleges causes of

25   action under 42 U.S.C. §1983 for violation of civil rights, as well as pendent state law claims.

26


      NOTICE OF REMOVAL TO                             1                 OFFICE OF THE ATTORNEY GENERAL
                                                                              1250 Pacific Avenue, Suite 105
      FEDERAL COURT                                                                  P.O. Box 2317
                                                                                   Tacoma, WA 98401
                                                                                     (253) 593-5243
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            In the Amended Complaint, plaintiffs name defendants Rocky Stephenson, Forest
 2
     Jacobson, Billie Reed-Lyyski and Jane Wilson, individually and in their official capacities.
 3
            2.      On November 10, 2014, the Attorney General’s Office for the State of
 4
     Washington, counsel for the defendants, received a copy of an Amended Complaint for
 5
     Damages filed on November 7, 2014 in the Superior Court of Washington for Pierce County,
 6
     Case No. 12-2-11389-6, entitled Judith Cox and Charles Cox individually and as Personal
 7
     Representatives of the Estates of C.J.P. and B.T.P., Plaintiffs v. State of Washington
 8
     Department of Social and Health Services, Forest Jacobson, Rocky Stephenson, Jane Wilson
 9
     and Billie Reed-Lyyski, Defendants.
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            3.      The Amended Complaint asserts causes of action under 42 U.S.C. §1983
11
     against the above-named individual defendants. This notice of removal is being filed within
12
     30 days of receipt of the complaint alleging an action under 42 U.S.C. §1983 against the
13
     named defendants.
14
            4.      Under 28 U.S.C. §1331 and §1343, the United States District Courts “have
15
     original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
16
     United States.”
17
            5.      Plaintiffs allege in paragraphs 6 – 9 and 77 – 89 of the Amended Complaint for
18
     Damages that defendants had direct personal participation in the deprivation of plaintiffs
19
     C.J.P. and B.T.P.’s constitutional rights pursuant to 42 U.S.C. § 1983.
20
            6.      This is a civil action of which this court has original jurisdiction under 28
21
     U.S.C. §1331 and §1343, and is one which may be removed to this court by defendants
22
     pursuant to 28 U.S.C. §1441(b) in that it is a civil action founded on a claim or right arising
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     under federal law. The district court also has supplemental jurisdiction over the state claims
24
     pursuant to 28 U.S.C., §1367. An Eleventh Amendment bar as to supplemental claims does
25

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              Case 3:14-cv-05923-RBL Document 1 Filed 11/19/14 Page 3 of 5




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     not divest the federal court of jurisdiction over claims arising under federal law. Wisconsin
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     Dept. of Corrections v. Schacht, 524 U.S. 381, 118 S. Ct. 2047, 141 L. Ed. 2d 364 (1998).
 3
            7.      Intradistrict Assignment. The United States District Court for the Western
 4
     District of Washington, Tacoma Division, is the appropriate assignment pursuant to the
 5
     criteria listed in LCR 3(d) wherein Pierce County, Washington is the situs where Cox v. State
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     of Washington, et al., is currently pending, it is where the alleged actions claimed of therein
 7
     occurred, and it is where the individual defendants reside.
 8
            8.      All defendants who have been served have consented to remove this action to
 9
     federal court. See, Affidavit of Peter J. Helmberger in Support of Removal to Federal Court.
10
            9.      Defendants reserve all rights and defenses, including Eleventh Amendment
11
     Immunity, and this notice is made without waiving Washington State’s sovereign immunity or
12
     any other defenses it may have in response to this lawsuit.
13
            10.     In compliance with 28 U.S.C. §1446(a) and LCR 101(b) defendants have
14
     attached a copy of the operative complaint filed as an Amended Complaint for Damages in the
15
     state court action, along with a copy of the Jury Demand also filed in the state action. The
16
     defendants will provide copies of all other process, pleadings and orders served upon them or
17
     later filed in this case as a separate notice of state filed court documents.
18
            DATED this 19th day of November, 2014.
19

20                                                ROBERT W. FERGUSON
                                                  Attorney General
21
                                                  /s/Peter J. Helmberger
22                                                PETER J. HELMBERGER, WSBA No. 23041
                                                  Assistant Attorney General
23                                                1250 Pacific Avenue, Suite 105
                                                  Tacoma, WA 98401
24                                                Telephone: (253) 593-5243
                                                  FAX: (253) 593-2449
25                                                E-mail: PeterH@atg.wa.gov

26


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          Case 3:14-cv-05923-RBL Document 1 Filed 11/19/14 Page 4 of 5




 1

 2

 3                                   /s/Joseph M. Diaz
                                     JOSEPH M. DIAZ, WSBA No. 16170
 4                                   Assistant Attorney General
                                     7141 Cleanwater Ln SW
 5                                   Tumwater, WA 98501
                                     Telephone: (360) 586-6300
 6                                   FAX: (360) 586-6655
                                     E-mail: JosephD@atg.wa.gov
 7                                   Attorneys for Defendants

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              Case 3:14-cv-05923-RBL Document 1 Filed 11/19/14 Page 5 of 5




 1
                                      CERTIFICATE OF SERVICE
 2
             I hereby certify that on this 19th day of November, 2014, I caused to be electronically
 3
     filed the foregoing document with the Clerk of the Court using the CM/ECF system which will
 4
     send notification of such filing to the following:
 5
     James S. Rogers
 6   Elizabeth Donaldson
     Cheryl Snow
 7   Law Offices Of James S. Rogers
     1500 Fourth Avenue, Suite 500
 8   Seattle, WA 98101
     (206) 621-8525
 9   jsr@jsrogerslaw.com
     csnow@jsrogerslaw.com
10   liz@jsrogerslaw.com
11   Anne Bremner
     Evan Bariault
12   1200 Fifth Avenue, Suite 1900
     Seattle, WA 98101
13   (206) 486-8000

14   abremner@freybuck.com
     ebariault@freybuck.com
15

16                                                 ROBERT W. FERGUSON
                                                   Attorney General
17
                                                   /s/Peter J. Helmberger
18                                                 PETER J. HELMBERGER, WSBA No. 23041
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22                                                 /s/Joseph M. Diaz
                                                   JOSEPH M. DIAZ, WSBA No. 16170
23                                                 Assistant Attorney General
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24                                                 Tumwater, WA 98501
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25                                                 FAX: (360) 586-6655
                                                   E-mail: JosephD@atg.wa.gov
26                                                 Attorneys for Defendants


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